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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


 UNITED STATES OF AMERICA                       :
                                                :      CRIMINAL NOS. 3:07-cr-289(JCH)
                    vs.
                                                                        3:08-cr-233(JCH)
 ISNI GJURAJ                                    :      January 31, 2021

                                    NOTICE OF EXHIBITS

       The defendant, Isni Gjuraj, hereby files Exhibits HH, II, JJ, KK, and LL to Memorandum

in Support of Motion for Sentence Reduction Under 18 U.S.C. § 3582(C)(1)(A)(i) and Section 603

of the First Step Act.

                                              Respectfully Submitted,

                                              THE DEFENDANT,
                                              Isni Gjuraj

                                              FEDERAL DEFENDER OFFICE

Dated: January 31, 2021                       /s/ Kelly M. Barrett
                                              Kelly M. Barrett
                                              First Assistant Federal Defender
                                              265 Church Street, Suite 702
                                              New Haven, CT 06510
                                              Phone: (203) 498-4200
                                              Bar No.: ct27410
                                              Email: Kelly_Barrett@fd.org

                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on January 31, 2021, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent to all parties by operation of the Court’s electronic filing system. Parties may access
this filing through the Court’s CM/ECF System.
                                                      /s/Kelly M. Barrett
                                                      Kelly M. Barrett
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             EXHIBITHH
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January 28, 2021

Honorable Judge Janet C. Hall
RICHARD C. LEE UNITED STATES COURTHOUSE
United States Courthouse
141 Church Street
New Haven, Connecticut 06510

Dear Honorable Judge Janet C. Hall,

         I'm hereby writing this letter as the wife of inmate Isni Gjuraj. I respectfully request that you take into
consideration our past 13 years without the anchor of our family. rve known Isni for the last 17 years of my life, 13
out of those 17 years I have been me visiting my husband in a Federal Prison with my kids. I have traveled from
Rhode Island, to Brooklyn, NY, to Schuylkill, PA and back to Loretto, PA. In all types of weather, hours and hours
on the road for the man I love so much. His prison sentence has changed my life drastically. In the last 13 years,
I have not taken my kids on any vacations. Any time off from school and/ or our vacations were spent visiting my
husband. Most of Isni's incarcerations he has been 5-6 hours away (Schuylkill, PA and Loretto, PA) so we have
always had to stay overnight at a hotel., we were lucky when he was in Danbury, CT for 4 years. We were blessed to
have him close by when he was incarcerated in Danbmy CT, it was a just a 40 minute.
         I have stood by my husband for 13 years, because in my heart I've seen the good light Isni sheds years before
his incarceration. He has always been there for me, my son Rommell and his first child I-           . Isni would wake up
early in the morning and bring Rommell to school, do homework with him, pick him up from school and treated him
as his own child. Isni has always been very loving to me, he proved that he is and always will be a respectful human
being. Isni has shown major improvement as a father, husband, and most importantly a son.
         God has blessed our family with tl1e opportunity to be able to see him these past 13 years, but it has always
been a visit through a glass partition wall or sitting many feet away from him. It is so hard not to be able to just hug
him. D ue to COVID I haven't seen my husband since his birthday on Febrna1y 22, 2020.
         I'm so afraid tl1at all of this prison time has really damaged his health beyond repair. For 13 years he hasn't
been able to eat properly in prison, he is allergic to all the foods tl1at the average human isn't to. The medical staff
ignores him. TI1ey don't care about him, or monitoring his foods, he has rights as a prisoner, he should be given the
rights kinds of food to eat. He has lost 70lbs during tl1e recent pandemic when he was in Canaan, PA. They didn't
even allow him to keep his epi-pen alongside him, so he wouldn't eat in fear of getting sick and not surviving. He is
living in constant fear and pain because of his health issues and it's a big concern for all of us. It may not matter to
anyone in tl1e prison, but Isni is also a human being like the rest of us. I know Isni will be psychologically damaged
when he is released, & I say tlus from past and present experiences. I will be tl1ere to support him on lus release, to
get the medical attention he needs, psychological needs and anything he needs.
         Isni has made many wrong choices and is dying day by day wishing he will be free again to make it right
choices and so he can continue his life journey with us. His journey is blurry as of right now because of the constant
frustration.
I've come to realize that we're prisoners as well and we're all getting resentenced because of all tl1e time and effort my
family & I have put into being there for Isni. I tntly believe my husband is rehabilitated, If I gave my husband a
second chance after everytlung, he has put me through. I cannot see why the legal system couldn't see lum as a
rehabilitated man and give lum a Second Chance.
In my heart I know you will make tl1e best decision possible, for Isni, for his family and for tl1e community. I can't
sleep until he is sentenced, I have been sick to my stomach, it gives the chills knmving tl1at he has the possibility of
coming home sooner.

I thank you so much for accepting tlus case, giving my husband the opportunity to be heard again, hopefully giving
lum a Second Chance at life again to be with us all.
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              EXHIBIT II
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January 22, 2021

Honorable Judge Janet C. Hall
RICHARD C. LEE UNITED STATES COURTHOUSE
United States Courthouse
141 Church Street
New Haven, Connecticut 06510

Dear Honorable Judge Janet C. Hall,

I am Have Gjuraj, the mother of lsni Gjuraj born                1941, today I am 80 years old. I still
cannot believe that lsni, my baby boy, my youngest child is in prison for 13 years now. For the last
13 years, I cannot sleep or move on because all I do is think of lsni. I think what I do wrong as a
mother. lsni was my only child that I didn't stay home for and went to work. I have 7 children and had
an older son named lsni that died in Kosovo in 1960's my husband forced me to give this little boy his
dead brothers name. I didn't want to do it. I was scared he would have no luck. He was born sick
with a heart murmur, and bad allergies everywhere for food, skin just everything.
        He was such a good boy growing up, he was so young and would dress himself and go to
school. He was so quiet and never talked back to me. I never had any complaints, from his teachers,
school or anyone in our neighborhood. He always did his homework and was such a good son.
        No child is a bad person in their mother's eyes. I know lsni changed for the good. I know lsni
will never let me down again, he promised me, and I really believe him with my whole heart.
When he was sentenced in 2009 in was in shock, all of our relatives (50+ people) came to the
courtroom that day, no one could believe little lsni was in this problem.
        As a mother, all I do is worry and it is making me sicker every day and every year. I worry if he
is sleeping, eating and if he has any problems. His whole life he's been very sick and very bad
allergies. It was hard to cook for him, I always did it separate and we were poor and I hope I gave
him the right food. I was a factory worker and worked hard labor, I tried to teach him the best I can. I
had no education and I always want the best for my kids.
        Now I am so scared about the Corona Virus almost 700 people in the jail have it and lsni is
sick. He is allergic to the vaccine.
        I am praying every day for him to come home while I am still alive. Every time my brothers,
sisters, nieces, nephews from Kosovo, Albania, Germany and Switzerland call they all are asking me
how is lsni, is he coming home. We are a big family over 100 people, they all are praying for my baby
boy too.
        lsni can come home to live with me, I still have his room there. His wife and kids can come
too. I want to see him one more time, I want to watch him sleep, hear him breathe and cook for him.
I promise to take him to probation, drive him to the doctor, to his work and he needs a doctor for his
stress.

I am praying and begging you with my whole heart to God, to you, to the court, to please let lsni come
home while I am alive, please. I will give up anything I have for him to be here one more time with me.
I promise the neighborhood will be safe and all of Connecticut he will not do bad again.
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             EXHIBIT JJ
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January 28, 2021

Honorable Judge Janet C. Hall
RICHARD C. LEE UNITED STATES COURTHOUSE
United States Courthouse
141 Church Street
New Haven, Connecticut 06510

Dear Honorable Judge Janet C. Hall,

My name is
               ■G  1111    , I am the firstborn son to Isni Gjuraj, I am now 13 since the last time I wrote you. For the past 13
years of my life all I know is that I visit my dad in a prison. My family hid from me his wrongdoings but as I got older I read
it online. It is hard to read or hear what the media makes him to be. In my eyes I have always seen my dad as a good role
model and he is so loving. He doesn't fail to show or tell me how much he loves me and it goes to show that he is and
will always be a good dad to me. He is my role model even if he is in prison, I think he is a different Isni that I go visit he is
not the is not the same Isni that was doing bad things before I was born.

Since I can remember he has always been away from me. I am sad he is never here for my birthdays or parent teacher
conferences. In my heart, I know he feels bad. My dad is the best person in the world to me. He is a great person. I
know he made some really bad mistakes. I am so sorry. I know my dad changed and he promised me he will never ever
break the law. I really believe him. I know he can proceed forward. My dad really trusts me and I trust him.

His mistakes have cost us time l of being together, but I know one day we will be together outside of any prison. One
thing I really wish I did was go on a vacation with my family, but it seems like we won't ever go on one, unless dad comes
home, the only vacation I’ve ever went to is a nearby hotel by his jail. Growing up without my dad hurts me a lot.
He doesn't see me wake up or go to school like how he did with my older brother, he isn't involved with my daily life, but
always hears about it when he calls home. You know he calls me everyday and writes me over ten times a day.

One thing I could say that I love him no matter what's happening is when I go up and see him. I would say it’s like
paradise what kid wouldn't want to be with their dad? I'm his first son, I have his name, he treats me like I am the King. I
wish I could visit him everyday, but since COVID, I haven’t seen my dad in a year. I can’t wait to see him Tuesday on video
court.

Daddy's health is very concerning to me, I am scared of what will happen to him. I have almost the allergies too. I know
what my dad deals with, his allergies and medical condition is what I'm most afraid of, because if my dad gets
sick inside I don't know what could happen to him, he never gets help in there. It is hurting most importantly to my
Grandmother, my mother, & my family.

The world we live in revolves my dad and I'm afraid that his mental and physically health will not be there as time keeps
going by. I'm also afraid of not getting the time I deserve with him. I’m sad because I have nothing to do with what wrong
he did but I am hurting so much inside. I was brought into this world without any knowledge that this will be my life.
Staying home sheltered and visiting my dad far away every week.

I'm nervous to hear your decision this upcoming Tuesday, but I hope it’s a decision that will change all our lives for the
best. I want my friends to see I have a dad and for him to bring me to school.

Thank you for taking my daddy's case I really appreciate it.

        G
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            EXHIBIT KK
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Januai.y 28, 2021

Honorable Judge Janet C. Hall
RICHARD C. LEE UNITED STATES COURTHOUSE
United States Courthouse
141 Church Street
New Haven, Connecticut 06510

D ear Honorable Judge J ai.1et C. Hall,

I am Rommell Reynoso, the 22-year-old stepson oflsni Gjuraj. I am the one who has been through tremendous
number of things in my short 22 years of life. One that drastically changed my life and the people around me was the
incarceration of my Dad Isni. His incarceration has affected me inside and out. I'm saying this because I've never had
a male figure to look up to until Isni came into my life. For the little time we had together the world was mine. I felt so
loved and special. That happy world was taken from me on J anuai.y 31st, 2008. The opportunity to finally have a real
family, and most importantly my fatl1er figure. Yes, many would say how is a once upon a time drug dealer a good
father? I never saw tl1at side of him, so I chose to block out his wrong. I just want to remember the great man I knew
then and the greater man he is today. T hat man sitting behind those bars for the last 13 years is the only man to ever
show me how to be, a man. but not just a man, a caring and compassionate human being. Isni has motivated me for
the last 15 years to pursue my dreams and never look back, he takes education and religion real seriously and he has
encouraged me every step of the way. Isni is the primary reason why I'm in a University, I am 20 credits away from
graduating with a Bachelor's Degree in Science. My mom has struggled so hard, but we live eve1yday praying Isni
comes home. E ven tl1ough my father isn't witl1 me physically, I still have to put the work in so that I could make him
and my mother proud. His teachings tl1rough the jail have influenced me to keep going because I have it lightly. He's
the one in a federal prison 24/7 hours of a day in his own tl1oughts, fears and hopes to rewute witl1 us one day.

Regretting, hoping, just trying to get another chance. \'Xlh.ile I'm free, learning having all tl1e opportunities he told me
I'd have if I kept at it. Isni protected my motl1er & I and gave us a place called home. He was responsible for taking me
and picking me up from school every day & making sure I was up to date with my classes, my homework and my
appearance.

The man who did all the crimes that he's guilty for back then isn't the same man you see now today before you in
couit. I believe 100% he's rehabilitated and w1derstands tl1at we had done before was completely wrong, but are we
now going to let a rehabilitated man die in his own mind and spirit because jail does that to many, are we going to let
his serious healtl1 issues take over knowing tl1at he could lose his life over any little situation due to being highly allergic
to many foods & with everytl:ung that has been going on witl1 COVID-19. This man witl1 his healtl1 issues shouldn't
be in a correctional facility that's not sa11itized or doesn't provide lum with the correct meals. During tl1e pandemic Isru
lost 70 pounds in Canaan because eve1ything given to lum would have severe allergic reactions, he was afraid to eat
anything and he suffered tremendously for not having his epi pen alongside him. \Vhat if he were to eat sometlung, he
wasn't supposed to God only knows what could happen. Then Is11i would just be anotl:1er number. It would kill my
family to lose him and all the pain we bear.

We are here for Isni 100% and believe he has changed he has serious healtl1 conditions tl1at in danger his life inside
more than being outside. I believe in you Judge Janet Hall, I pray you will see tluough his mistakes and will make tl1e
best decision possible for my dad. I appreciate you taking lus case and being tl:1e one to possibly changing our lives.
God bless you.

Rommell Re      oso
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January 31, 2021

Honorable Judge Janet C. Hall
RICHARD C. LEE UNITED STATES COURTHOUSE
United States Courthouse
141 Church Street
New Haven, Connecticut 06510

Dear Honorable Judge Hall,
          Thank you for taking a moment to read our letters on behalf of Isni Gjuraj.
          I want to shed light on what his prison sentence has been these last 13 years, 156 months and 4,745 days for Isni. On a
positive he has found a higher power and fears to do wrong. I pray he stays on this path; it would stop him from ever using
drugs, selling drugs and committing crime. During this time, I know he has reflected on his life and wants to only do good.
          On a negative, his prison time has been horrific to say the least. I’m not sure if this is the punishment that God is
handing down to him to cleanse him of all of his past wrongdoings. To purify himself and his soul to never ever have the desire
to do wrong again.
          Prior to Isni’s incarceration Isni was under the care of an Allergist, Neurologist, Cardiologist, Psychologist and the list
goes on. He had a few really bad car accidents, and has issues with his muscles, spine, brain, and nerves. He also was
receiving Allergy shots a few times a week, that he was supposed to do this for the next five years — to stop or reduce allergy
attacks. His Allergy shots are a form of treatment called immunotherapy. Each allergy shot contains a tiny amount of the
specific substance or substances that trigger his life-threatening allergic reactions. This treatment stopped upon his arrest. He
has life threatening allergies to Peanut Butter, Soy, a majority of fruits and vegetables. He is supposed to be given a “BOP
special diet tray” that would contain some basic foods he can eat to survive in prison and never has. He is given foods that are
cross contaminated with these that he is deathly allergic too.
          I can go on for several pages, but I will just give you the “helicopter view” of his last 13 years. He waits on bloodwork,
x-rays, Ultrasounds, MRI’s, and real medicine he needs to survive. He is required to keep an epi-pen on him 24/7, he is high risk
of constant anaphylaxis episodes. I recall a time we were visiting him in Danbury, CT and one of the guards asked me how
much time he has, I said 320 months, he said “Oh, man that is long – last night we had to shoot him up with his epi-pen, it was
scary, we thought we almost lost him”. He has had so many of those episodes.
          One of the worst of his 13 years of imprisonment, is in his most recent years. Isni was moved to Canaan FCP because
he was in transit to be re-sentenced and due to COVID, and then BOP stopped all inmate movement. He was there from March
2020 to November 2020. He wasn’t given his epi-pen in his cell, so he was scared to eat, so he lost 70 lbs., he wasn’t given food
that he was allergic too, in order to survive he ate bread and butter/cheese. Water was not allowed in the cell, so he had to
wait for a guard to come to give him water. He was severely dehydrated too. He was locked in a cell for 24/7. Imagine how
hard it was for us out here during Quarantine during COVID and we had access to smart phones, TV, all forms of in-home
entertainment and groceries. For 300+ days, Isni sat in a very cold cell, no heat, can only shower once a week, with No TV, no
Walkman, no books, no religious material, they stopped his mail, he couldn’t call us but once a month, no e-mail and not
seeing the outdoors.
          We were happy to hear he was transferred back to Loretto, PA. But then out of nowhere out of 811 inmates there, over
700+ have tested positive for COVID. This was terrifying.
          Isni has lost all hope that he can get the medical attention he needs and psychiatric care. Canaan FCP was really really
bad for him. His prison sentence has really aged him, he lost all of his hair in his first years, he is completely bald, and his vision
is so bad. All the side effects of his medicine given to him, since he can’t get the medical treatments he needs. Him not getting
proper care is only getting him closer to death. All of my uncles (father’s brothers) died in their 40’s due to heart disease. My
father died of heart disease at age 77, after several strokes, had a triple bypass and somewhat proper medical care here in the
USA.
          I agree we should be punished by law for wrongdoing. This time in prison is a time to reflect, rehabilitate on all the bad
we have done and how can we come out to be a better person. I know Isni feels the deepest of remorse. I cannot imagine Isni
coming home and doing wrong. He prays five times a day and really tries to get his entire family on the right path. I hope he
really helps hundreds of people and serves the rest of his life to a community that he once was in the process of destroying. I
realize that when he was living the life of crime, he didn’t think of bad effects it would have on his wife, children, his mother
                  Case 3:07-cr-00289-JCH Document 1194 Filed 01/31/21 Page 12 of 12
and this world. All I can say was that he was not in his right state of mind. I know for now on every move he makes he will think
100 times over if he is making the right decision.
         Your honor, I pray that you re-sentence Isni based on the number of months you feel would be suitable for him to pay
for his seriousness of his crimes. I beg you to please take into consideration the BOP Medical Negligence and his need for
medical treatment. I know because of the seriousness of his crimes and more importantly the violence; you have to ensure the
community will remain safe. I feel in my heart Isni will never ever be the person he once was. I promise my family and I will not
turn the blind eye on him again. We will all assist him on staying on the right path.
         I am in the employment agency industry, for over 25+ years, I will do my hardest to help him secure employment, there
are hundreds of companies that employ Felons. Instead of a longer sentence maybe you can give him more years under
Supervision with the US Probation Office, I know they will really play a key part in making sure he is a law-abiding citizen too. I
also was once under their Supervision, 10 years ago.
         I pray there is hope on this case of Isni Gjuraj.

Thank you,
Diana Gjuraj
